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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


In re Terrorist Attacks on September 11, 2001    03 MDL 1570 (GBD)(SN)


This document relates to:
Jessica DeRubbio, et al. v. Islamic Republic of Iran, No. 1:18-cv-05306 (GBD) (SN)
Horace Morris, et al. v. Islamic Republic of Iran, No. 1:18-cv-05321 (GBD) (SN)
Audrey Ades, et al. v. Islamic Republic of Iran, No. 1:18-cv-07306 (GBD) (SN)
Chang Don Kim, et al. v. Islamic Republic of Iran, No. 1:18-cv-11870 (GBD) (SN)
Alexander Jimenez, et al. v. Islamic Republic of Iran, No. 1:18-cv-11875 (GBD) (SN)
Cheryl Rivelli, et al. v. Islamic Republic of Iran, No. 1:18-cv-11878 (GBD) (SN)
Gordon Aamoth, Sr., et al. v. Islamic Republic of Iran, No. 1:18-cv-12276 (GBD) (SN)
Marinella Hemenway, et al. v. Islamic Republic of Iran, No. 1:18-cv-12277 (GBD) (SN)
August Bernaerts, et al. v. Islamic Republic of Iran, No. 1:19-cv-11865 (GBD) (SN)
Ber Barry Aron, et al. v. Islamic Republic of Iran, No. 1:20-cv-09376 (GBD) (SN)
Jeanmarie Hargrave, et al. v. Islamic Republic of Iran, No. 1:20-cv-09387 (GBD) (SN)
Paul Asaro, et al. v. Islamic Republic of Iran, No. 1:20-cv-10460 (GBD) (SN)
Michael Bianco, et al. v. Islamic Republic of Iran, No. 1:20-cv-10902 (GBD) (SN)
Nicole Amato, et al. v. Islamic Republic of Iran, No. 1:21-cv-10239 (GBD) (SN)
Susan M. King, et al. v. Islamic Republic of Iran, No. 1:22-cv-05193 (GBD) (SN)

 PLAINTIFFS’ NOTICE OF MOTION FOR JUDGMENTS BY DEFAULT FOR KING
PLAINTIFFS AGAINST THE ISLAMIC REPUBLIC OF IRAN AS TO LIABILITY AND
   FOR PARTIAL FINAL JUDGMENTS FOR DAMAGES ON BEHALF OF THE
    PLAINTIFFS IDENTIFIED IN EXHIBITS A, EXHIBITS B, AND EXHIBIT G

        PLEASE TAKE NOTICE that upon the supporting Memorandum of Law and the

Declaration of Jerry S. Goldman, Esq. (“Goldman Declaration”) and exhibits annexed thereto,

and the exhibits submitted with access restricted to the Court pursuant to the May 5, 2022 Order,

ECF No. 7963, pertaining to expert reports submitted in support of default judgments, all

Plaintiffs in Susan M. King, et al. v. Islamic Republic of Iran, No. 1:22-cv-05193 (GBD) (SN),

by and through their counsel, Anderson Kill P.C., respectfully move the Court for an ORDER

granting Plaintiffs’ motion for entry of default judgment against the Defendant Islamic Republic

of Iran (“Iran”) as to liability; AND

        PLEASE TAKE FURTHER NOTICE that upon the supporting Memorandum of Law

and the Declaration of Jerry S. Goldman, Esq. and exhibits annexed thereto, certain of the
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plaintiffs in the above-captioned matters who are identified in Exhibits A-1 to A-7 (collectively,

“Exhibits A”), Exhibit B-1 to B-12 (collectively, “Exhibits B”), and Exhibit G (the plaintiffs in

Exhibit G are the “Personal Injury Plaintiffs”) annexed to the Goldman Declaration, by and

through their counsel, Anderson Kill P.C., respectfully move this Court for an ORDER:

                   (1)   determining that service of process was properly effected upon Iran in

        accordance with 28 U.S.C. § 1608(a) for sovereign defendants and 28 U.S.C. § 1608(b)

        for agencies and instrumentalities of sovereign defendants; 1 AND,

                   (2)   awarding the Plaintiffs identified in Exhibits A judgments against Iran as

        to damages in the same amounts previously awarded by this Court to various similarly

        situated plaintiffs in Burnett, Havlish, Ashton, Bauer, O’Neill, and other cases; AND,

                   (3)   awarding solatium damages to those Plaintiffs identified in Exhibits A in

        the amounts of $12,500,000 per spouse, $8,500,000 per parent, $8,500,000 per child, and

        $4,250,000 per sibling, as set forth in annexed Exhibits A; AND,

                   (4)   awarding compensatory damages judgment to the Personal Injury

        Plaintiffs against Iran for pain and suffering commensurate with the injuries sustained

        during the September 11, 2001 terrorist attacks, in accordance with prior precedent in the

        U.S. District Court for the District of Columbia in similar cases (and factoring in an

        upward departure on damages values based on the indelible impact of the September 11,

        2001 terrorist attacks); AND,

                   (5)   awarding the estates of the 9/11 decedents, through the personal

        representatives and on behalf of all survivors and all legally entitled beneficiaries and

        family member of such 9/11 decedents, as identified by the Plaintiffs set forth in Exhibits

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  This only applies for the plaintiffs in this motion in the above-referenced 2018 matters, and for
all plaintiffs in Susan M. King, et al. v. Islamic Republic of Iran, No. 1:22-cv-05193 (GBD)
(SN).
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        B, compensatory damages for pain and suffering in the same per estate amount

        previously awarded by this Court regarding other estates of decedents killed in the

        September 11th attacks, as set forth in Exhibits B; AND,

                   (6)    awarding compensatory damages to certain Plaintiffs identified in Exhibits

        B for decedents’ pain and suffering in an amount of $2,000,000 per estate, as set forth in

        annexed Exhibits B; AND,

                   (7)    awarding the estates of the 9/11 decedents, through their personal

        representatives and on behalf of all survivors and all legally entitled beneficiaries and

        family member of such 9/11 decedent, as identified in Exhibits B, and the Personal Injury

        Plaintiffs identified in Exhibit G, an award of economic damages in the amount as set

        forth in Exhibits B and Exhibit G; AND,

                   (8)    awarding the Plaintiffs identified in Exhibits A, Exhibits B, and Exhibit G

        prejudgment interest at the rate of 4.96 percent per annum, compounded annually for the

        period from September 11, 2001 until the date of the judgment for damages; AND,

                   (9)    granting the Plaintiffs identified in Exhibits A, Exhibits B, and Exhibit G

        permission to seek punitive damages, economic damages, and other appropriate damages,

        at a later date; AND,

                   (10)   granting permission for all other Plaintiffs in these actions not appearing

        in Exhibits A, Exhibits B, and Exhibit G to submit applications for damages awards in

        later stages, to the extent such awards have not previously been addressed; AND,

                   (11)   granting to the Plaintiffs in Exhibits A, Exhibits B, and Exhibit G such

        other and further relief as this Honorable Court deems just and proper.




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        Plaintiffs’ request is made in connection with the judgments on default as to liability

entered against Iran as follows:

CASE NAME                   CASE NO.            DATE MOTION              ECF NO. OF MOTION
                                                FOR LIABILITY            FOR LIABILITY THAT
                                                WAS GRANTED              WAS GRANTED

Jessica DeRubbio, et        No. 1:18-cv-05306 05/28/2019                 ECF No. 4563
al. v. Islamic Republic     (GBD) (SN)
of Iran
Horace Morris, et al.       No. 1:18-cv-05321 06/21/2019                 ECF No. 4595
v. Islamic Republic of      (GBD) (SN)
Iran
Audrey Ades, et al. v.      No. 1:18-cv-07306 06/21/2019                 ECF No. 4594
Islamic Republic of         (GBD) (SN)
Iran
Chang Don Kim, et al.       No. 1:18-cv-11870 09/03/2019                 ECF No. 5049
v. Islamic Republic of      (GBD) (SN)
Iran
Alexander Jimenez, et       No. 1:18-cv-11875 09/03/2019                 ECF No. 5056
al. v. Islamic Republic     (GBD) (SN)
of Iran
Cheryl Rivelli, et al. v.   No. 1:18-cv-11878 09/03/2019                 ECF No. 5047
Islamic Republic of         (GBD) (SN)
Iran

Gordon Aamoth, Sr.,         No. 1:18-cv-12276 09/03/2019                 ECF No. 5050
et al. v. Islamic           (GBD) (SN)
Republic of Iran
Marinella Hemenway,         No. 1:18-cv-12277 09/03/2019                 ECF No. 5054
et al. v. Islamic           (GBD) (SN)
Republic of Iran
August Bernaerts, et        No. 1:19-cv-11865 01/04/2022                 ECF No. 7522
al. v. Islamic Republic     (GBD) (SN)
of Iran
Ber Barry Aron, et al.      No. 1:20-cv-09376 01/04/2022                 ECF No. 7522
v. Islamic Republic of      (GBD) (SN)
Iran
Jeanmarie Hargrave,         No. 1:20-cv-09387 01/04/2022                 ECF No. 7522
et al. v. Islamic           (GBD) (SN)
Republic of Iran



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Paul Asaro, et al. v.     No. 1:20-cv-10460 01/04/2022              ECF No. 7522
Islamic Republic of       (GBD) (SN)
Iran
Michael Bianco, et al.    No. 1:20-cv-10902 01/04/2022              ECF No. 7522
v. Islamic Republic of    (GBD) (SN)
Iran
Nicole Amato, et al. v.   No. 1:21-cv-10239 04/03/2023              ECF No. 8978
Islamic Republic of       (GBD) (SN)
Iran


Dated:     New York, New York             Respectfully submitted,
           May 18, 2023
                                          /s/ Jerry S. Goldman
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